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    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK
    ---------------------------------------------------------------x
    CLARA PEREZ,
                                                                         CV
                                                Plaintiff,
                        v.
                                                                         COMPLAINT
    923 BROADWAY LBB LLC AND MAYA'S
                                                                         JURY TRIAL REQUESTED
    SNACK BAR BUSHWICK CORP.

                                                 Defendants.
    ---------------------------------------------------------------x

                                             COMPLAINT

          Plaintiff Clara Perez (hereafter referred to as “Plaintiff”), by counsel, Hanski

  Partners LLC, as and for the Complaint in this action against Defendants 923 Broadway

  LBB LLC and Maya's Snack Bar Bushwick Corp. (together referred to as “Defendants”),

  hereby alleges as follows:

                                    NATURE OF THE CLAIMS

          1.       This lawsuit opposes pervasive, ongoing, and inexcusable disability

  discrimination by the Defendants. In this action, Plaintiff seeks declaratory, injunctive,

  and equitable relief, as well as monetary damages and attorney’s fees, costs, and expenses

  to redress Defendants’ unlawful disability discrimination against Plaintiff, in violation of

  Title III of the Americans with Disabilities Act (“ADA”) 42 U.S.C. §§ 12181 et. seq. and

  its implementing regulations, the New York State Human Rights Law (“NYSHRL”),

  Article 15 of the New York State Executive Law (“Executive Law”), the New York State

  Civil Rights Law, § 40 et. seq., and the New York City Human Rights Law

  (“NYCHRL”), Title 8 of the Administrative Code of the City of New York

  (“Administrative Code”). As explained more fully below, Defendants own, lease, lease

  to, operate, and control a place of public accommodation that violates the above-
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  mentioned laws. Defendants are vicariously liable for the acts and omissions of their

  employees and agents for the conduct alleged herein.

          2.       These Defendants made a financial decision to ignore the explicit legal

  requirements for making their place of public accommodation accessible to persons with

  disabilities – all in the hopes that they would never be caught. In so doing, Defendants

  made a calculated, but unlawful, decision that disabled customers are not worthy. The

  day has come for Defendants to accept responsibility. This action seeks to right that

  wrong via recompensing Plaintiff and making Defendants’ place of public

  accommodation fully accessible so that Plaintiff can finally enjoy the full and equal

  opportunity that Defendants provide to non-disabled customers.

                                JURISDICTION AND VENUE

          3.       This Court has jurisdiction over this matter pursuant to 42 U.S.C. § 12188,

  and 28 U.S.C. §§ 1331 and 1343 as this action involves federal questions regarding the

  deprivation of Plaintiff’s rights under the ADA. The Court has supplemental jurisdiction

  over Plaintiff’s related claims arising under the New York State and City laws pursuant to

  28 U.S.C. § 1367(a).

          4.       Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) because

  Defendants’ acts of discrimination alleged herein occurred in this district and

  Defendants’ place of public accommodation that is the subject of this action is located in

  this district.

                                            PARTIES

          5.       At all times relevant to this action, Plaintiff Clara Perez has been and

  remains currently a resident of the State and City of New York.




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         6.      At all times relevant to this action, Plaintiff Clara Perez has been and

  remains a wheelchair user. Plaintiff suffers from medical conditions that inhibit walking

  and restrict body motion range and movement.

         7.      Defendant 923 Broadway LBB LLC owns the property located at 923

  Broadway in Kings County, New York (hereinafter referred to as “923 Broadway”).

         8.      At all relevant times, defendant Maya's Snack Bar Bushwick Corp.

  operates a snack shop doing business as Maya’s Snack Bar.

         9.      At all relevant times, defendant Maya's Snack Bar Bushwick Corp.

  operates and/or leases property located at 923 Broadway from defendant 923 Broadway

  LBB LLC (hereinafter referred to as the “Maya's Snack Bar premises”) in which the

  snack shop doing business as Maya’s Snack Bar is located.

         10.     Upon information and belief, 923 Broadway LBB LLC and Maya's Snack

  Bar Bushwick Corp. have a written lease agreement.

         11.     Each defendant is licensed to and does business in New York State.

               ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

         12.     Each of the Defendants is a public accommodation as they own, lease,

  lease to, control or operate a place of public accommodation, the Maya’s Snack Bar

  premises located at 923 Broadway, within the meaning of the ADA (42 U.S.C. § 12181

  and 28 C.F.R. § 36.104), the NYSHRL (Executive Law § 292(9)) and the NYCHRL

  (Administrative Code § 8-102).

         13.     The Maya’s Snack Bar premises is a place of public accommodation

  within the meaning of the ADA (42 U.S.C. § 12181 and 28 C.F.R. § 36.104), the




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  NYSHRL (Executive Law § 292(9)) and the NYCHRL (Administrative Code (§ 8-102)

  as it is a facility operated by a private entity and its operations affect commerce.

          14.     Numerous architectural barriers exist at the Maya’s Snack Bar premises

  that prevent and/or restrict access to Plaintiff, a person with a disability, which include,

  but are not limited to, architectural barriers at the paths of travel.

          15.     Upon information and belief, 923 Broadway was designed and constructed

  for first possession after January 26, 1993.

          16.     Upon information and belief, at some time after January 1992, alterations

  were made to 923 Broadway, including areas adjacent and/or attached to 923 Broadway.

          17.     Upon information and belief, at some time after January 1992, alterations

  were made to the Maya’s Snack Bar premises, and to areas of 923 Broadway related to

  the Maya’s Snack Bar premises.

          18.     Within the past three years of filing this action, Plaintiff attempted to and

  desired to access the Maya’s Snack Bar premises.

          19.     The services, features, elements and spaces of the Maya’s Snack Bar

  premises are not readily accessible to, or usable by Plaintiff as required by the 1991 ADA

  Standards for Accessible Design codified in 28 C.F.R. Part 36, Appendix D (hereinafter

  referred to as the “1991 Standards” or the “1991 ADA”) or in the 2010 ADA Standards

  for Accessible Design codified in 36 CFR part 1191 Appendices B and D and 28 CFR

  part 36 subpart D (hereinafter referred to as the “2010 Standards” or the “2010 ADA”)

          20.     Because of Defendants’ failure to comply with the above-mentioned laws,

  including but not limited to the 1991 Standards or the 2010 Standards and the

  Administrative Code, Plaintiff was and has been unable to enjoy safe, equal, and




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  complete access to all of the areas of the Maya’s Snack Bar premises that are open and

  available to the public.

         21.     Defendants’ place of public accommodation has not been designed,

  constructed, or altered in compliance with the 1991 Standards, the 2010 Standards, the

  1968 New York City Building Code, Administrative Code, Title 27 (“1968 BC”),

  including the 1968 BC Reference Standard ANSI 117.1-1986 (“1968 Ref Std”), the 2008

  New York City Building Code (“2008 BC”) including the 2008 BC Reference Standard

  ICC/ANSI 117.1 2003 (“2008 Ref Std”) and the 2014 New York City Building Code

  (“2014 BC”) including the 2014 BC Reference Standard ICC/ANSI 117.1 2009 (“2014

  Ref Std”).

         22.     Barriers to access that Plaintiff encountered and/or which deter Plaintiff

  from patronizing the Maya’s Snack Bar premises as well as architectural barriers that

  exist include, but are not limited to, the following:

         I.      An accessible route is not provided from the public street and sidewalk to
                 the public entrance to the Maya’s Snack Bar premises.
                 Defendants fail to provide that at least one accessible route shall be
                 provided within the site from public streets and sidewalks to the accessible
                 building or facility entrance they serve. See 1991 ADA § 4.1.2(1); 2010
                 ADA § 206.2.1; 1968 BC§ 27-292.5(b); 2008 BC § 1104.1; and 2014 BC
                 § 1104.1.
         II.     The public entrance to the Maya’s Snack Bar premises is not accessible
                 Defendants fail to provide that at least 50% of all its public entrances are
                 accessible. See 1991 ADA § 4.1.3(8)(a)(i).
                 Defendants fail to provide that at least 60% of all its public entrances are
                 accessible. See 2010 ADA § 206.4.1.
                 Defendants fail to provide that primary entrances are accessible. See 1968
                 BC § 27-292.5(a).
                 Defendants fail to provide that all of its public entrances are accessible.
                 See 2008 BC § 1105.1; and 2014 BC § 1105.1.




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        III.    There is a step at the exterior side of the public entrance door to the
                Maya’s Snack Bar premises.
                Defendants fail to provide that changes in level at accessible routes
                greater than 1/2-inch-high shall be overcome with a ramp, elevator, or
                platform lift. See 1991 ADA § 4.3.8; and 1968 Ref Std § 4.3.8.
                Defendants fail to provide that changes in level at accessible routes
                greater than 1/2-inch-high shall be ramped. See 2010 ADA § 303.4; 2008
                Ref Std § 303.3; and 2014 Ref Std § 303.4.
        IV.     The stairs at the entrance to the Maya’s Snack Bar premises lack
                handrails.
                Defendants fail to provide handrails on both sides of the stairs. See 1991
                ADA § 4.9.4; 2010 ADA § 505.2; 1968 Ref Std §4.9.4; 2008 Ref. Std §
                505.2; and 2014 Ref. Std § 505.2.
        V.      No signage identifies an accessible entrance to the Maya’s Snack Bar
                premises (to the extent Defendants claim they provide an accessible public
                entrance).
                Defendants fail to display signage (marked with the International Symbol
                of Accessibility or otherwise) that identifies an accessible entrance. See
                1991 ADA §§ 4.1.2(7)(c); 4.1.3(8)(d); and 4.1.6(1)(h); 2010 ADA § 216.6;
                1968 BC § 27- 292.18; 2008 BC § 1110; and 2014 BC §§ 1101.3.4; and
                1110.
        VI.     There is no directional signage at the inaccessible entrance of the Maya’s
                Snack Bar premises that indicates the location of an accessible entrance
                (to the extent Defendants claim they provide an accessible entrance).
                Defendants do not provide and display signage at the inaccessible public
                entrance (marked with the International Symbol of Accessibility or
                otherwise) that indicates the location of an accessible entrance. See 1991
                ADA §§ 4.1.6(1)(h) and 4.1.3(8)(d); and 2010 ADA Standards § 216.6.
                Defendants fail to provide directional signage at necessary locations. See
                1968 BC § 27-292.18(b).
                Defendants fail to provide directional signage by the inaccessible
                entrance indicating the route to the nearest accessible entrance. See 2008
                BC § 1110.2; and 2014 BC §§ 1101.3.3; and 1110.2.
        VII.    The public entrance door of the Maya’s Snack Bar premises lacks level
                maneuvering clearances at the push side of the door.
                Defendants fail to provide an accessible door with level maneuvering
                clearances. See 1991 ADA § 4.13.6; 2010 ADA § 404.2.4; 1968 Ref Std §
                4.13.6; 2008 Ref. Std § 404.2.3; and 2014 Ref Std § 404.2.3.
        VIII.   Maneuvering clearances for pushing open the entrance door of the Maya’s
                Snack Bar premises is not provided due to a step.
                Defendants fail to provide minimum maneuvering clearances of 48 inches
                perpendicular to the door for a forward approach to the push side of a




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               door. See 1991 ADA § 4.13.6; 2010 ADA § 404.2.4; 1968 Ref Std §
               4.13.6; 2008 Ref Std § 404.2.3; and 2014 Ref Std § 404.2.3.
        IX.    There is a step at the exterior side of the entrance door to the Maya’s
               Snack Bar premises which has a change in level greater than ½ inch high.
               Defendants fail to provide that changes in level at accessible routes
               greater than 1/2-inch-high shall be overcome with a ramp, elevator, or
               platform lift. See 1991 ADA § 4.3.8; and 1968 Ref Std § 4.3.8.
               Defendants fail to provide that changes in level at accessible routes
               greater than 1/2-inch-high shall be ramped. See 2010 ADA § 303.4; 2008
               Ref Std § 303.3; and 2014 Ref Std § 303.4.
        X.     There is no accessible route within the Maya’s Snack Bar premises
               connecting all the public accommodations within the site.
               Defendants fail to provide that there is one accessible route connecting all
               the public accommodations within the site. See 1991 ADA §§ 4.3.2,
               4.1.2(2), and 4.1.3(1); 2010 ADA §§ 206.1 and 206.2; 1968 BC §27-
               292.5; 1968 Ref Std § 4.3.2; 2008 BC § 1104; and 2014 BC § 1104.
        XI.    Defendants fail to provide accessible dining surfaces at the Maya’s Snack
               Bar premises.
               Defendants fail to provide that where seating, tables and/or work stations
               are provided in usable spaces, at least one and not less than 5 percent
               shall be accessible. See 1968 BC § 27-292.10(a)(3).
               Defendants fail to provide that at least 5 percent of the seating and
               standing spaces are accessible.
               Defendants fail to provide that where fixed tables (or dining counters
               where food is consumed but there is no service) are provided, at least 5
               percent, but not less than one, of the fixed tables (or a portion of the
               dining counter) shall be accessible. See 1991 ADA § 5.1.
               Defendants fail to provide that where dining surfaces are provided for the
               consumption of food or drink, at least 5 percent of the seating spaces and
               standing spaces at the dining surfaces shall be accessible. See 2010 ADA
               § 226.1.
        XII.   There are no accessible tables in the interior dining area of the Maya’s
               Snack Bar premises. All tables have chairs and legs that obstruct knee and
               toe clearances required for a forward approach to the seating.
               Defendants fail to provide that at least 5% of the dining surfaces provided
               to customers are accessible. See 1991 ADA § 5.1; 2010 ADA § 226.1;
               1968 BC § 27-292.10(a)(3); 2008 BC § 1109.11; and 2014 BC § 1109.10.
               Defendants fail to provide (due to chairs or table legs) a clear floor space
               of 30 inches by 48 inches positioned for a forward approach and the
               required knee and toe clearance at accessible work surfaces and/or table
               surfaces. See 1991 ADA § 4.32.2; 2010 ADA § 902.2; 1968 Ref Std §
               4.30.2; 2008 Ref Std § § 902.2; and 2014 Ref Std § 902.2.




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         XIII.   The door at the toilet room in the Maya’s Snack Bar premises has
                 hardware that requires twisting of the wrist (knob type hardware).
                 Defendants fail to provide handles, pulls, latches, locks, and other
                 operable parts that are operable with one hand and do not require tight
                 grasping, pinching, or twisting of the wrist. See 1991 ADA § 4.13.9; 2010
                 ADA § 404.2.7; 1968 Ref Std § 4.13.9; 2008 Ref Std § 404.2.6; and 2014
                 Ref Std § 404.2.6.

         XIV. Maneuvering clearances for pulling open the bathroom door in the Maya’s
              Snack Bar premises is not provided.
              Defendants fail to provide that floor or ground surface within required
              maneuvering clearances at doors shall have slopes not steeper than 1:48
              (2.0%) and changes in level are not permitted. 60 inches perpendicular to
              the door for 18 inches parallel to the door beyond the latch is required for
              a forward approach to the pull side of a door, or 54 inches perpendicular
              to the door for 24 inches parallel to the door beyond the latch is required
              for a latch approach to the pull side of a door. See 1991 ADA § 4.13.6;
              2010 ADA § 404.2.4; 1968 Ref Std § 4.13.6; 2008 Ref Std § 404.2.3; and
              2014 Ref Std § 404.2.3.

         XV.     The entrance to the Maya’s Snack Bar, which is also an exit, is not
                 accessible.
                 Defendants fail to provide accessible means of egress in the number
                 required by the code. See 1991 ADA § 4.1.3(9); 2010 ADA § 207.1; 1968
                 BC §§ 27-292.1 and 27-357(d); 2008 BC § 1007.1; and 2014 BC §
                 1007.1.

         23.     Plaintiff either personally encountered or has knowledge of such barriers

  to access.

         24.     Upon information and belief, a full inspection of the Maya’s Snack Bar

  premises will reveal the existence of other barriers to access.

         25.     As required by the ADA (remedial civil rights legislation) to properly

  remedy Defendants’ discriminatory violations and avoid piecemeal litigation, Plaintiff

  requires a full inspection of the Maya’s Snack Bar premises in order to catalogue and

  cure all of the areas of non-compliance with the ADA. Notice is therefore given that

  Plaintiff intends on amending the Complaint to include any violations discovered during

  an inspection that are not contained in this Complaint.



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          26.     Defendants have denied Plaintiff the opportunity to participate in or

  benefit from services or accommodations because of disability.

          27.     Defendants have not satisfied their statutory obligation to ensure that their

  policies, practices, procedures for persons with disabilities are compliant with the laws.

  Nor have Defendants made or provided accommodations or modifications to persons

  with disabilities.

          28.     Plaintiff has a realistic, credible, and continuing threat of discrimination

  from the Defendants’ non-compliance with the laws prohibiting disability discrimination.

  The barriers to access within the Maya’s Snack Bar premises continue to exist and deter

  Plaintiff.

          29.     The Maya’s Snack Bar premises is located in the Bushwick neighborhood

  of Brooklyn.

          30.     Broadway is a major commercial and retail shopping corridor in

  Bushwick.

          31.     Plaintiff resides approximately 10 minutes travel time to the Maya’s Snack

  Bar premises.

          32.     Plaintiff frequently travels to the area where the Maya’s Snack Bar

  premises is located to shop for clothing and groceries and household products.

          33.     Plaintiff shops on the Broadway commercial corridor approximately 2 to 3

  times a week.

          34.     When shopping on the Broadway commercial corridor Plaintiff passes by

  the Maya’s Snack Bar premises.




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          35.     Maya's Snack Bar Bushwick Corp. sells ice cream and other sweets at the

   Maya’s Snack Bar premises.

          36.     Plaintiff likes ice cream and sweets.

          37.     Plaintiff would like to purchsase ice cream and sweets at the Maya’s

   Snack Bar premises.

          38.     Plaintiff, however, encounters steps at the entrance to the Maya’s Snack

   Bar premises each time she passes it by.

          39.     Steps are likely the most obvious architectural barrier to wheelchair

   access. An entrance with a step is no different than a sign informing Plaintiff and other

   wheelchair users to “keep out.” See 134 Cong. Rec. S10,454, 10,491 (1988) (statement of

   Sen. Simon) (noting that the architectural barriers are like “Keep Out” signs to the

   disabled).

          40.     Plaintiff remains deterred from patronizing the Maya’s Snack Bar

   premises because of the barriers to access that exist at the Maya’s Snack Bar premises.

          41.     Plaintiff intends to patronize the Maya’s Snack Bar premises one or more

   times a year after it becomes fully accessible and compliant with the 1991 Standards or

   the 2010 Standards, and the Administrative Code.

          42.     Plaintiff also intends to utilize her visits to the Maya's Snack Bar premises

   to monitor, ensure, and determine whether the Maya’s Snack Bar premises is fully

   accessible and compliant with the 1991 Standards or the 2010 Standards, and the

   Administrative Code.

          43.     Plaintiff continues to suffer an injury due to Defendants maintenance of

   architectural barriers at the Maya’s Snack Bar premises. This is because she desires to




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   purchase food items at the Maya’s Snack Bar premises but Defendants deny her the

   opportunity to do so based on disability because they maintain architectural barriers at the

   Maya’s Snack Bar premises. Defendants discriminate against her in violation of the

   ADA, the NYSHRL and the NYCHRL as they created, maintain and have failed to

   remove architectural barriers to wheelchair access at the Maya’s Snack Bar premises.

                            FIRST CAUSE OF ACTION
           (VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT)

          44.     Plaintiff realleges and incorporates by reference all allegations set forth in

   this Complaint as if fully set forth herein.

          45.     Plaintiff is substantially limited in the life activity of both walking and

   body motion range and thus has a disability within the meaning of the ADA. As a direct

   and proximate result of Plaintiff’s disability, Plaintiff uses a wheelchair for mobility, and

   also has restricted use of arms and hands.

          46.     The ADA imposes joint and several liability on both the property owner

   and lessee of a public accommodation. 28 C.F.R. 36.201(b).

          47.     Under the ADA, both the property owner and lessee are liable to the

   Plaintiff, and neither can escape liability by transferring their obligations to the other by

   contract (i.e. lease agreement). 28 C.F.R. 36.201(b).

          48.     Defendants have and continue to subject Plaintiff to disparate treatment by

   denying Plaintiff full and equal opportunity to use their place of public accommodation

   all because Plaintiff is disabled. Defendants’ policies and practices have and continue to

   subject Plaintiff to disparate treatment and disparate impact.




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          49.      By failing to comply with the law in effect for decades, Defendants have

   articulated to disabled persons such as the Plaintiff that they are not welcome,

   objectionable, and not desired as patrons of their public accommodation.

          50.      Defendants have discriminated against the Plaintiff by designing and/or

   constructing a building, facility and place of public accommodation that is not readily

   accessible to and usable by the disabled Plaintiff and not fully compliant with the 1991

   Standards or the 2010 Standards. See 28 C.F.R. § 36.401(A)(1) and 42 U.S.C.

   §12183(a)(1).

          51.      The Maya’s Snack Bar premises are not fully accessible and fail to

   provide an integrated and equal setting for the disabled, all in violation of 42 U.S.C.

   §12182(b)(1)(A) and 28 C.F.R. § 36.203.

          52.      Defendants failed to make alteration accessible to the maximum extent

   feasible in violation of 28 C.F.R. §§ 36.402 and 36.406 and 42 U.S.C. §12183(a)(2).

          53.      The paths of travel to the altered primary function areas were not made

   accessible in violation of 28 C.F.R. § 36.403.

          54.      Defendants failed to make all readily achievable accommodations and

   modifications to remove barriers to access in violation of 28 C.F.R. § 36.304. It would

   be readily achievable to make Defendants’ place of public accommodation fully

   accessible.

          55.      By failing to remove the barriers to access where it is readily achievable to

   do so, Defendants have discriminated against Plaintiff on the basis of disability in

   violation of § 302(a) and 302(b)(2)(A)(iv) of the ADA, 42 U.S.C. § 12182(a),

   (b)(2)(A)(iv), and 28 C.F.R. § 36.304.




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          56.      In the alternative, Defendants have violated the ADA by failing to provide

   Plaintiff with reasonable alternatives to barrier removal as required by 28 C.F.R. §

   36.305.

          57.      Defendants’ failure to remove the barriers to access constitutes a pattern

   and practice of disability discrimination in violation of 42 U.S.C. § 12181 et. seq., and 28

   C.F.R § 36.101 et. seq.

          58.      Defendants have and continue to discriminate against Plaintiff in violation

   of the ADA by maintaining and/or creating an inaccessible public accommodation.


                        SECOND CAUSE OF ACTION
         (VIOLATIONS OF THE NEW YORK STATE HUMAN RIGHTS LAW)

          59.      Plaintiff realleges and incorporates by reference all allegations set forth in

   this Complaint as if fully set forth herein.

             60.   Plaintiff suffers from various medical conditions that separately and

   together prevent the exercise of normal bodily functions in Plaintiff; in particular, the life

   activities of both walking and body motion range. Plaintiff therefore suffers from a

   disability within the meaning of the Executive Law § 292(21).

             61.   In 2019, the New York State legislature enacted legislation that provides

   effective immediately that the New York State Human Rights Law shall be “construed

   liberally for the accomplishment of the remedial purposes thereof, regardless of whether

   federal civil rights laws, including those laws with provisions worded comparably to the

   provisions of this article, have been so construed”. See Executive Law § 300 [effective

   date: August 12, 2019].

             62.   By amending the Executive Law § 300 to mirror the text of the New York

   City Local Civil Rights Restoration Act of 2005 (Local Law 85 of 2005), the New York


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   State legislature confirmed the legislative intent to abolish parallel construction between

   the New York State Human Rights Law and related Federal anti-discrimination laws.

           63.     Defendants have and continue to subject Plaintiff to disparate treatment by

   denying Plaintiff equal opportunity to use their place of public accommodation all

   because Plaintiff is disabled.

           64.     Defendants discriminated against Plaintiff in violation of NYSHRL

   (Executive Law § 296(2)), by maintaining and/or creating an inaccessible place of public

   accommodation. Each of the Defendants have aided and abetted others in committing

   disability discrimination.

           65.     Defendants have failed to make all readily achievable accommodations

   and modifications to remove barriers to access in violation of NYSHRL (Executive Law

   § 296(2)(c)(iii)).

           66.     In the alternative, Defendants have failed to provide Plaintiff with

   reasonable alternatives to barrier removal as required in violation of NYSHRL

   (Executive Law § 296(2)(c)(v)).

           67.     It would be readily achievable to make Defendants’ place of public

   accommodation fully accessible.

           68.     It would not impose an undue hardship or undue burden on Defendants to

   make their place of public accommodation fully accessible.

           69.     As a direct and proximate result of Defendants’ unlawful discrimination in

   violation of NYSHRL, Plaintiff has suffered, and continues to suffer emotional distress,

   including but not limited to humiliation, embarrassment, stress, and anxiety.




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          70.     Plaintiff has suffered and will continue to suffer damages in an amount to

   be determined at trial.

                         THIRD CAUSE OF ACTION
          (VIOLATIONS OF THE NEW YORK CITY HUMAN RIGHTS LAW)

          71.     Plaintiff realleges and incorporates by reference all allegations set forth in

   this Complaint as if fully set forth herein.

          72.     Plaintiff suffers from various medical conditions that separately and

   together, impair Plaintiff’s bodily systems - in particular, the life activity of both walking

   and body motion range -and thus Plaintiff has a disability within the meaning of the

   NYCHRL (Administrative Code § 8-102).

          73.     The Local Civil Rights Restoration Act of 2005 (the “Restoration Act”),

   also known as Local Law 85, clarified the scope of the Administrative Code in relation to

   the NYCHRL. The Restoration Act confirmed the legislative intent to abolish

   “parallelism” between the NYCHRL and the Federal and New York State anti-

   discrimination laws by stating as follows:

          The provisions of this title shall be construed liberally for the accomplishment of
          the uniquely broad and remedial purposes thereof, regardless of whether federal
          or New York State civil and human rights laws, including those laws with
          provisions comparably-worded to provisions of this title, have been so construed.

   Restoration Act § 7 amending Administrative Code §8-130 of the NYCHRL (emphasis

   added). The Restoration Act is to be construed broadly in favor of Plaintiff to the fullest

   extent possible. See also New York City Local Law 35 of 2016.

          74.     Defendants have and continue to subject Plaintiff to disparate treatment

   and disparate impact by directly and indirectly refusing, withholding, and denying the

   accommodations, advantages, facilities, and privileges of their place of public

   accommodation all because of disability in violation of the NYCHRL (Administrative


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   Code § 8-107(4)). Each of the Defendants have aided and abetted others in committing

   disability discrimination.

          75.     Defendants have and continue to commit disability discrimination in

   violation of the Administrative Code (inclusive of § 8-107(4)) because of the violations

   of the ADA as alleged herein.

          76.     Defendants have discriminated, and continue to discriminate, against

   Plaintiff in violation of the NYCHRL (Administrative Code § 8-107(4)) by designing,

   creating and/or maintaining an inaccessible commercial facility/space.

          77.     Defendants have subjected, and continue to subject, Plaintiff to disparate

   treatment by directly and indirectly refusing, withholding, and denying the

   accommodations, advantages, facilities, and privileges of their commercial facility/space

   all because of disability in violation of the NYCHRL (Administrative Code § 8-107(4)).

          78.     Defendants’ policies and procedures inclusive of the policies of refusing to

   expend funds to design, create and/or maintain an accessible commercial facility/space is

   a discriminatory practice in violation of NYCHRL (Administrative Code § 8-107 (4)).

          79.     Defendants’ failure to provide reasonable accommodations for persons

   with disabilities, inclusive of Defendants’ failure to remove the barriers to access

   identified herein, and their consequent denial of equal opportunity to Plaintiff, constitutes

   an ongoing continuous pattern and practice of disability discrimination in violation of

   NYCHRL (Administrative Code §§ 8-107(4) and 8-107(15)).

          80.     In violation of the NYCHRL (Administrative Code § 8-107(6)),

   Defendants have and continue to, aid and abet, incite, compel, or coerce each other in

   each of the other Defendants’ attempts to, and in their acts of directly and indirectly




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   refusing, withholding, and denying the accommodations, advantages, facilities, and

   privileges of their commercial facility/space and the place of public accommodation

   therein, all because of disability, as well as other acts in violation of the NYCHRL.

          81.     Administrative Code §§ 19-152 and 7-210 impose a non-delegable duty on

   the property owner to repave, reconstruct, repair, and maintain its abutting public

   sidewalk. As a result, 923 Broadway LBB LLC continuously controlled, managed, and

   operated the public sidewalk abutting 923 Broadway, which includes the portion of the

   sidewalk constituting the entrance to Defendants’ place of public accommodation.

          82.     923 Broadway LBB LLC‘s failure to construct and maintain an accessible

   entrance from the public sidewalk to Defendants’ place of public accommodation

   constitutes disability discrimination in a violation of the Administrative Code.

          83.     Defendants discriminated against Plaintiff in violation of the NYCHRL

   (Administrative Code, § 8-107(4)) by maintaining and/or creating an inaccessible public

   accommodation.

          84.     Defendants’ conduct also violates the NYCHRL, Administrative Code 8-

   107 (17), which states that “an unlawful discriminatory practice . . . is established . . .

   [when plaintiff] demonstrates that a policy or practice of a covered entity or a group of

   policies or practices of a covered entity results in a disparate impact to the detriment of

   any group protected by the provisions of this chapter.”

          85.     Because Defendants’ public accommodation is not readily accessible and

   usable by people with disabilities, Defendants have demonstrated a policy or practice that

   has a disproportionately negative impact on the disabled (including plaintiff).




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          86.     Defendants’ conduct constitutes an ongoing and continuous violation of

   the NYCHRL. Unless Defendants are enjoined from further violations, Plaintiff will

   continue to suffer injuries for which there is no adequate remedy at law. In particular,

   Plaintiff will suffer irreparable harm by being denied the accommodations, advantages,

   facilities, or privileges of the Defendants’ public accommodation.

          87.     As a direct and proximate result of Defendants’ unlawful discrimination in

   violation of the NYCHRL, Plaintiff has suffered, and continues to suffer emotional

   distress, including but not limited to humiliation, stress, and embarrassment.

          88.     Upon information and belief, Defendants’ long-standing refusal to make

   their place of public accommodation fully accessible was deliberate, calculated,

   egregious, and undertaken with reckless disregard to Plaintiff’s rights under the

   NYCHRL.

          89.     By failing to comply with the law in effect for decades, Defendants have

   articulated to disabled persons such as the Plaintiff that they are not welcome,

   objectionable, and not desired as patrons of their public accommodation.

          90.     Defendants engaged in discrimination with willful or wanton negligence,

   and/or recklessness, and/or a conscious disregard of the rights of others and/or conduct so

   reckless as to amount to such disregard for which Plaintiff is entitled to an award of

   punitive damages pursuant to NYCHRL (Administrative Code § 8-502).

          91.     By refusing to make their place of public accommodation accessible,

   Defendants have unlawfully profited from their discriminatory conduct by collecting

   revenue from a non-compliant space and pocketing the money that they should have




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   lawfully expended to pay for a fully compliant and accessible space. Defendants’

   unlawful profits plus interest must be disgorged.

          92.     Plaintiff has suffered and will continue to suffer damages in an amount to

   be determined at trial.

                        FOURTH CAUSE OF ACTION
          (VIOLATIONS OF THE NEW YORK STATE CIVIL RIGHTS LAW)

          93.     Plaintiff realleges and incorporates by reference all allegations set in this

   Complaint as if fully set forth herein.

          94.     Defendants discriminated against Plaintiff pursuant to New York State

   Executive Law.

          95.     Consequently, Plaintiff is entitled to recover the monetary penalty

   prescribed by Civil Rights Law §§ 40-c and 40-d for each and every violation.

          96.     Notice of this action has been served upon the Attorney General as

   required by Civil Rights Law § 40-d.

                                        INJUNCTIVE RELIEF

          97.     Plaintiff will continue to experience unlawful discrimination as a result of

   Defendants’ failure to comply with the above-mentioned laws. Therefore, injunctive

   relief is necessary to order Defendants to alter and modify their place of public

   accommodation and their operations, policies, practices, and procedures.

          98.     Injunctive relief is also necessary to make Defendants’ facilities readily

   accessible to and usable by Plaintiff in accordance with the above-mentioned laws.

          99.     Injunctive relief is further necessary to order Defendants to provide

   auxiliary aids or services, modification of their policies, and/or provision of alternative

   methods, in accordance with the ADA, NYSHRL, and the NYCHRL.



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                                          JURY DEMAND

                       Plaintiff demands a trial by jury on all claims so triable.

                                      PRAYER FOR RELIEF

          WHEREFORE, Plaintiff respectfully requests that the Court enter a judgment

   against the Defendants, jointly and severally, in favor of Plaintiff that contains the

   following relief:

              A. Enter declaratory judgment declaring that Defendants have violated the

   ADA and its implementing regulations, the NYSHRL, and the NYCHRL and declaring

   the rights of Plaintiff as to Defendants’ place of public accommodation, and Defendants’

   policies, practices, and procedures;

              B. Issue a permanent injunction ordering Defendants to close and cease all

   business until Defendants remove all violations of the ADA, the 1991 Standards or the

   2010 Standards, the NYSHRL, and the NYCHRL, including but not limited to the

   violations set forth above;

              C. Retain jurisdiction over the Defendants until the Court is satisfied that the

   Defendants’ unlawful practices, acts and omissions no longer exist and will not reoccur;

              D. Award Plaintiff compensatory damages as a result of Defendants’

   violations of the NYSHRL and the NYCHRL;

              E. Award Plaintiff punitive damages in order to punish and deter the

   Defendants for their violations of the NYCHRL;

              F. Award Plaintiff the monetary penalties for each and every violation of the

   law, per defendant, pursuant to New York State Civil Rights Law §§ 40-c and 40-d;




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              G. Find that Plaintiff is a prevailing party and award reasonable attorney’s

   fees, costs, and expenses pursuant to the NYSHRL and the NYCHRL;

              H. Find that Plaintiff is a prevailing party and award reasonable attorney’s

   fees, costs, and expenses pursuant to the ADA; and

              I. For such other and further relief, at law or in equity, to which Plaintiff

   may be justly entitled.

   Dated: September 25, 2024
          New York, New York
                                                 Respectfully submitted,

                                                 HANSKI PARTNERS LLC

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